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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF HAWAI`I

  UNITED STATES OF AMERICA,      )           CR NO. 06-00080 SOM
                                 )
                 Plaintiff,      )           REPORT AND RECOMMENDATION
       vs.                       )           CONCERNING PLEA OF GUILTY
                                 )
  SIAOSI ALAPATI (04),           )
                                 )
                 Defendant.      )
  ______________________________ )


                              REPORT AND RECOMMENDATION
                              CONCERNING PLEA OF GUILTY

                  The defendant, by consent, has appeared before me pursuant

  to Rule 11, Fed.R.Crim.P., and has entered a plea of guilty to Count 2

  of the First Superseding Indictment.         After examining the defendant

  under oath, I determined that the defendant is fully competent and

  capable of entering an informed plea, that the guilty plea was

  intelligently, knowingly and voluntarily made, and that the offense

  charged is supported by an independent basis in fact establishing each

  of the essential elements of such offense.           I further determined that

  the defendant intelligently, knowingly and voluntarily waived the

  right to appeal or collaterally attack the sentence except as provided

  in the plea agreement.        I therefore recommend that the plea of guilty

  be accepted and that the defendant be adjudged guilty and have

  sentence imposed accordingly.

                  IT IS SO RECOMMENDED.




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                  DATED: Honolulu, Hawai`i, April 27, 2006.



                                      _____________________________
                                      Leslie E. Kobayashi
                                      United States Magistrate Judge




                                        NOTICE

       Failure to file written objections to this Report and
  Recommendation within ten (10) days from the date of its service shall
  bar an aggrieved party from attacking such Report and Recommendation
  before the assigned United States District Judge. 28 U.S.C. §
  636(b)(1)(B).




  U.S.A. vs. SIAOSI ALAPATI; CR NO. 06-00080-04 SOM; REPORT AND
  RECOMMENDATION CONCERNING PLEA OF GUILTY




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